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 6
     R. Judd as Trustees of Judd Nevada Trust Dated December 15, 2020
 7                           IN THE UNITED STATES BANKRUPTCY COURT
 8                 FOR THE DISTRICT OF NEVADA UTAH, CENTRAL DIVISION

 9    In re:                                              Case No. 22-10942-MKN

      J&J CONSULTING SERVICES, INC.,                      Chapter 11- Involuntary
10
               Alleged Debtor
11                                                        Adv. Proceeding No.: 22-01061-MKN
      ANTHONY BONIFAZIO, an individual;
12    KEITH OZAWA, an individual; JANELLE
      OZAWA, an individual; and BRIAN                     Date of Hearing: April 15, 2022
13    SCHUMANN, an individual                             Time of Hearing: 10:00 a.m.
14             Plaintiffs,
15    v.
16    JEFFREY J. JUDD, an individual; JENNIFER
      R. JUDD, an individual; JEFFREY J. JUDD
17    AND JENNIFER J. R. JUDD, AS TRUSTEES
      OF JUDD NEVADA TRUST, DATED
18    DECEMBER 15, 2020, a Nevada trust; J & J
      CONSULTING SERVICES, INC., an Alaska
19    corporation; MATTHEW BEASLEY, an
      individual; PAULA BEASLEY, an individual;
20    BEASLEY LAW GROUP PC, a Nevada
      Professional Corporation; SHANE M. JAGER,
21    an individual, WILLOW A. JAGER, an
      individual; KARSEN D. JAGER, an
22    individual; SHANE M. JAGER AND
      WILLOW A. JAGER, AS TRUSTEES OF
23    JAGER FAMILY TRUST, DATED JUNE 30,
      2003, AMENDED JUNE 30, 2009, a Nevada
24    trust; STIRLING CONSULTING L.L.C., a
      Nevada limited liability company; JASON
25    JONGEWARD, an individual; JOHN

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 1    CANNON, AS TRUSTEE OF THE
      CAROLINA CHASE TRUST, DATED _____
 2    a California trust,

 3           Defendants.

 4
          JUDD PARTY’S OPPOSITION TO PETITIONING CREDITORS’ MOTION FOR
 5         PRELIMINARY INJUNCTION AND TEMPORARY RESTRAINING ORDER

 6          Pursuant to 11 U.S.C. § 105(a) & Fed. R. Bankr. P. 7065, Defendants Jeffrey J. Judd,

 7   Jennifer R. Judd, Jeffrey J. Judd & Jennifer R. Judd as Trustees of Judd Nevada Trust Dated

 8   December 15, 2020 (the “Judd Parties”) submit this memorandum opposing the Petitioning

 9   Creditors’ Motion for Preliminary Injunction and Temporary Restraining Order (the “TRO

10   Motion”).

11                       MEMORANDUM AND POINTS OF AUTHORITIES

12   I.     INTRODUCTION

13          The Petitioning Creditors injunctive relief against the Judd Parties based on nothing more

14   than what they have read in the newspaper and assumptions that the Judd Parties are attempting

15   to abscond with proceeds from the sale of their assets, despite repeated representations to the

16   contrary. Extraordinary Relief requires extraordinary proof. Here, none is forthcoming. The first

17   11 pages of the TRO Motion is not supported by a single piece of admissible evidence. Mr.

18   Schwartz’s declaration merely states that various complaints have made various allegations. The

19   veracity of any of these allegations has yet to be sworn to under oath. Alleged hearsay statements

20   by Mr. Beasley that he was running a Ponzi scheme is certainly not evidence that any of the Judd

21   Parties were knowing participants in Mr. Beasley’s endeavors.

22          Pursuant to L.R. 9014.2(b), the Judd Parties do                     to the entry of final

23   orders or judgment by the Court with respect to them or their assets, especially on an expedited

24   basis on such a dearth of evidence. Let a fiduciary investigate and determine what assets are

25   believed to be property of the estate under § 541. There is no need to rush to judgment now.


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 1   II.    BACKGROUND FACTS

 2          1.      On March 17, 2022 (the “Petition Date”), involuntary chapter 11 bankruptcy

 3   petitions were filed against J&J Consulting Services, Inc. (“Consulting”) and J and J Purchasing,

 4   LLC (“Purchasing,” and together with Consulting, “J&J”) in the United States Bankruptcy

 5   Court for the District of Nevada under bankruptcy case numbers (respectively) 22-10942-mkn

 6   and 22-10943-mkn

 7          2.      The Petitioning Creditors filed the Chapter 11 Case alleging that Alleged Debtor,

 8   among others, was operating a Ponzi scheme in excess of $300,000,000. See, e.g., ECF No. 4.

 9          3.      Petitioning Creditors are not alone. In fact, as of the date of this filing, in addition

10   to the two involuntary proceedings and an adversary proceeding Petitioning Creditors have

11   commenced, no less than three litigation cases are actively pending related to Alleged Debtor, its

12   affiliates, and other entities purportedly involved in their operation. See Anderson Decl. ¶ 3.

13          4.      Specifically, the following cases are currently pending with respect to Alleged

14   Debtor; J and J Purchasing, LLC, its affiliate; and other purported participants in the alleged

15   Ponzi scheme: (a) In re J&J Consulting Services, Inc., Case No. 22-10942-MKN, pending in the

16   Nevada Bankruptcy Court; (b) In re J and J Purchasing, LLC, Case No. 22-10943-MKN,

17   pending in the Nevada Bankruptcy Court; (c) Bonifazio, et al. v. Judd, Judd Nevada Trust, dated

18   December 15, 2020, J & J Consulting Services, Inc., Beasley, Beasley Law Group PC, Jager,

19   Jager Family Trust, Dated June 30, 2009, Stirling Consulting L.L.C., Jongeward, Carolina

20   Chase Trust Dated _____, Adv. No. 22-01061-MKN pending in the Nevada Bankruptcy Court;

21   (d) Murphy, et al. v. Beasley, Beasley Law Group PC, Judd, J&J Consulting Services, Inc., J and

22   J Purchasing, LLC, Case No. A-22-849806-B pending in the Eighth Judicial District Court for

23   the District of Nevada (the “Murphy Action”); (e) Henzel, et al. v. Judd, et al., Case

24   No. 2:22-cv-00529, pending before the United Stated District Court for the District of Nevada;

25


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 1   and (f) Lewis, et al. v. Wells Fargo Bank, N.A., Beasley Law Group PC, Beasley, Case No. A-22-

 2   850036-C pending in the Eighth Judicial District Court for the District of Nevada.

 3
     See Anderson Decl. ¶ 4.
 4           5.      In addition, multiple law firms have established websites seeking to solicit investors
 5   in Alleged Debtor’s business which are likely to result in a multitude of additional litigation

 6   through the country. See Anderson Decl. ¶ 5.

             6.      Of significant concern, the various litigations seek to freeze, control, and/or recover
 7
     assets of various non-debtor parties that may be properly recovered by the Alleged Debtor’s estate
 8
     based on preference, fraudulent transfer, or other legal theories. See Anderson Decl. ¶ 6.
 9
             7.      Most recently, and despite the existence of the Chapter 11 Case, Danial Ayala was
10
     purportedly appointed as a receiver over, among others, Alleged Debtor in the Murphy Action. See
11   Anderson Decl. ¶ 7.

12           8.      In complete disregard for the bankruptcy automatic stay, 1 Mr. Ayala contends that

13   his appointment is proper, and he has threatened to begin marshalling the assets of the Alleged

     Debtor and related persons. See Anderson Decl. ¶ 8.
14
             9.      Alleged Debtor is currently controlled and operated by Jeffrey Judd, who serves as
15
     its president, treasurer, and sole director. See Anderson Decl. ¶ 9.
16
             10.     Of critical importance to the arguments made in the TRO Motion, investors were
17   instructed in the Investment Contracts to wire the investment capital to an Interest on Lawyers’
18   Trust Account (the “IOLTA Account”) belonging to Beasley Law. It is estimated that

19   approximately $300 million passed into the IOLTA account from an approximated 150 investors.

20   See Anderson Decl. ¶ 10.

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     1
       Alleged Debtor is in the process of preparing a motion to this Court to declare the entry of the
24   receivership order over Alleged Debtor as void as a violation of the automatic stay. Jeffrey Judd has filed
     a motion in the Murphy Action to set aside the receivership order as to him. A hearing on that is set for
25   April 14, 2022.


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 1   III.      LEGAL STANDARD

 2             Regardless of whether the Petitioning Creditors are seeking a preliminary injunction or a

 3   temporary restraining order, the “analysis is substantively identical,” Stuhlbarg Intern. Sales Co.

 4   v. John D. Bush and Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001). Both are “extraordinary”

 5   remedies and “never awarded as of right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24

 6   (2008). To obtain, the movant “must establish that [it] is likely to succeed on the merits, that [it]

 7   is likely to suffer irreparable injury in the absence of preliminary relief, that the balance of

 8   equities tips in [its] favor, and that an injunction is in the public interest.” Id.2

 9   IV.       LEGAL ARGUMENT

10             A.     The Petitioning Creditors Cannot Establish Irreparable Harm.

11             Unlike a Rule 12(b) motion, a motion under Rule 65 must be supported by admissible

12   evidence rather than mere allegations. “Those seeking injunctive relief” must do more than just

13   state or argue that they will suffer irreparable harm, they “must proffer evidence sufficient to

14   establish a likelihood of irreparable harm.” Herb Reed Enter., LLC v. Fla. Ent. Mgmt., Inc., 736

15   F.3d 1239, 1251 (9th Cir. 2013). The irreparable harm must be “neither remote nor speculative,

16   but actual and imminent.” In re Int’l Home Products Inc., 491 B.R. 607, 627 (Bankr. D.P.R.

17   2013).3

18
     2
       The Ninth Circuit also recognizes an additional standard: “if a plaintiff can only show that there are
19   ‘serious questions going to the merits’—a lesser showing than likelihood of success on the merits—then a
     preliminary injunction may still issue if the ‘balance of hardships tips sharply in the plaintiff's favor,’ and
20   the other two Winter factors are satisfied.” Shell Offshore, Inc. v. Greenpeace, Inc., 709 F.3d 1281, 1291
     (9th Cir. 2013). Since the Petitioning Creditors do not assert this standard applies, the Judd Parties do not
21   analyze it but reserve the right to do so should the Petitioning Creditor argue the “serious questions”
     standard is applicable here.
22   3
       Harm is irreparable if the problem cannot be solved with money unless “the plaintiff can establish . . .
     the impending insolvency of the defendant[s] or that [the] defendant[s] ha[ve] engaged in a pattern of
23   secreting or dissipating assets to avoid judgment.” In re Estate of Ferdinand Marcos, Human Rights
     Litig., 25 F.3d 1467, 1476-80 (9th Cir. 1994) (Estate of Ferdinand Marcos). The Ninth Circuit, however,
24   expressly “restricted” its holding “to only extraordinary cases in which equitable relief is not sought” in
     order to “avoid[] the concern . . . of the ‘sweeping effect’ that a plaintiff in any action requesting damages
25   can apply for an injunction to sequester his or her opponent’s assets.” Id. at 1480 (quoting De Beers
     Consol. Mines, Ltd. v. United States, 325 U.S. 212, 222-23 (1945)). Since the complaint seeks equitable

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 1           The entire basis of the Petitioning Creditors’ assertion of irreparable harm is that the Judd

 2   Parties are attempting to sell their assets and that list prices on some real properties were

 3   purportedly cut “substantially.” No evidence is offered that the sale prices currently on offer are

 4   for less than market value, or that the proposed sales are anything other than at arm’s length to

 5   bona fide purchasers. The Petitioning Creditors cannot offer any evidence that the sale proceeds

 6   would be unreachable but for injunctive relief. They know proceeds will not be dissipated and

 7   lack evidence of a pattern of dissipation or that the Judd Parties are insolvent. In fact, the

 8   Petitioning Creditors were willing to stipulate with the Judd Parties to the sale of Mr. Judd’s

 9   primary residence (which is owned by a trust) provided the proceeds were under control of a

10   third party (Mr. Kravitz) with the Bankruptcy Court’s supervision. Irreparable harm is absent.

11           B.      The Petitioning Creditors Are Unlikely to Succeed on the Merits.

12           “The proper legal standard for preliminary injunctive relief requires a party to

13   demonstrate that he is likely to succeed on the merits,” Stormans, Inc. v. Selecky, 586 F.3d 1109,

14   1127 (9th Cir. 2009). No evidence is provided in the TRO Motion that the Judd Parties knew of

15   Mr. Beasley’s scheme. Such knowledge merely presumed based entirely upon the positions Mr.

16   Judd held with the Alleged Debtors. Yet the Petitioning Creditors allege that the money went in

17   and out of Mr. Beasley’s IOLTA at Wells Fargo. No allegation is made (let alone admissible

18   evidence offered) that the Judd Parties had any insight into the IOLTA. Just because Mr. Beasley

19   supposedly confessed to the FBI that he had perpetrated a Ponzi scheme is insufficient to

20   establish that the Judd Parties were anything more than victims of it. Otherwise, they too would

21   not have been “investors.” And yet, the Petitioning Creditors focus the TRO Motion solely on

22

23

24   relief in the form of claims under 11 U.S.C. §§ 544(b), 548, 550, N.R.S. §§ 112.180(1), 112.220(2),
     Alaska Stat. §§ 34.40.010, 34.40.020, Fla. Stat. §§ 726.105(1), 726.108(a), among others, the Estate of
25   Ferdinand Marcos exception is inapplicable.


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 1   the Judd Parties, rather than Mr. Beasley, who is currently attempting to give half of his assets to

 2   is wife in a divorce.

 3          C.      The Equities Do Not Weigh in the Petitioning Creditors’ Favor.

 4          “When the reach of an injunction is narrow, limited only to the parties, and has no impact

 5   on non-parties, the public interest factor will be at most a neutral factor in the analysis rather than

 6   one that favors granting or denying the preliminary injunction.” Stormans, Inc. v. Selecky, 586

 7   F.3d 1109, 1138-39 (9th Cir. 2009). Conversely, where, as here, the requested injunctive relief

 8   request effects third-party buyers of the Judd Parties’ assets, this factor weighs against the

 9   Petitioning Creditors.

10   V.     CONCLUSION

11          Based on the foregoing, the Court should deny the TRO Motion.

12          DATED this 12th day of April, 2022.

13
                                                    /s/ Kevin N. Anderson
14                                                  KEVIN N. ANDERSON, ESQ.
                                                    Nevada State Bar No. 4512
15                                                  TREVOR R. WAITE, ESQ.
                                                    Nevada State Bar No. 13779
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19                                                  Attorneys for Jeffrey J. Judd, Jennifer R. Judd,
                                                    Jeffrey J. Judd &Jennifer R. Judd as Trustees of
20                                                  Judd Nevada Trust Dated December 15, 2020

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 1                                  CERTIFICATE OF MAILING

 2          I HEREBY CERTIFY that on the 12th day of April, 2022, I caused a true and correct copy

 3   of the foregoing JUDD PARTY’S OPPOSITION TO PETITIONING CREDITORS’

 4   MOTION FOR PRELIMINARY INJUNCTION AND TEMPORARY RESTRAINING

 5   ORDER to be served on all those entitled to receive service via the Court’s CM/ECF service.

 6          I hereby further certify that I caused a copy of the foregoing to be served via the United

 7   States Mail, with first-class postage prepaid, addressed to the following:

 8   J AND J PURCHASING, LLC
     7901 4TH STREET NORTH, SUITE 300
 9   ST. PETERSBURG, FL 33702

10   J & J CONSULTING
     SERVICES, INC.
11   2700 EAST SUNSET ROAD, SUITE 9
     LAS VEGAS, NV 89008
12
     U.S. TRUSTEE - LV - 11
13   300 LAS VEGAS BOULEVARD S., SUITE 4300
     LAS VEGAS, NV 89101
14
     Securities and Exchange Commission
15   Los Angeles Regional Office
     444 South Flower Street, Suite 900
16   Los Angeles, California 90071

17
           DATED this 12th day of April, 2022.
18

19                                                /s/ Kevin N. Anderson
                                                  KEVIN N. ANDERSON, ESQ.
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